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 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     MIGUEL ANGEL SANCHEZ
 6
 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,               )
11                                           ) Case No. CR.S-04-381-FCD
                         Plaintiff,          )
12                                           )
           v.                                )      STIPULATION AND ORDER;
13                                           )         EXCLUSION OF TIME
                                             )
14                                           )
     MIGUEL ANGEL SANCHEZ, et al.,           ) Date: October 24, 2005
15                                           ) Time: 9:30 a.m.
                    Defendant.                 Judge: Honorable Frank C. Damrell
16   _____________________________

17         IT IS HEREBY STIPULATED by and between the parties hereto through

18   their respective counsel, SAMUEL WONG, Assistant United States

19   Attorney, attorney for Plaintiff, MARK J. REICHEL, CHRIS HAYDEN-MAYER,

20   ESQ., JESSE SANTANA, ESQ., attorneys for all defendants, that the

21   previously scheduled change of plea hearing date of October 17, 2005 be

22   vacated and the matter set for change of plea on October 24, 2005 at

23   9:30 am.

24         This continuance is requested because all defense counsel need

25   additional time to continue to review discovery with the defendant,

26   conduct legal research, perform background factual investigation, and

27   properly prepare for a change of plea, including calculating guideline

28   Stip and Order
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 1   ranges and potential sentences.
 2          Accordingly, all counsel and the defendant agree that time under
 3   the Speedy Trial Act from the date this stipulation is lodged, through
 4   October 24, 2005, should be excluded in computing the time within which
 5   trial must commence under the Speedy Trial Act, pursuant to Title 18
 6   U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
 7   DATED:     October 14, 2005.                    Respectfully submitted,
 8                                                   QUIN DENVIR
                                                     Federal Public Defender
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10
     DATED:     October 14, 2005.                    /s/MARK J. REICHEL
11                                                   MARK J. REICHEL
                                                     Assistant Federal Defender
12                                                   Attorney for Defendant
13
                                                     /s/MARK J. REICHEL
14                                                   CHRISTOPHER HAYDEN MEYER,ESQ
                                                     Attorney for Defendant
15
16                                                   /s/MARK J. REICHEL
                                                     JESSE SANTANA, ESQ
17                                                   Attorney for Defendant
18
19                                                   McGREGOR SCOTT
                                                     United States Attorney
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21
     DATED:     October 14, 2005.                    /s/MARK J. REICHEL for
22                                                   SAMUEL WONG
                                                     Assistant U.S. Attorney
23                                                   Attorney for Plaintiff
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     Stip and Order                            2
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 1                                 O R D E R
 2           The change of plea hearing date of October 17, 2005 is vacated
 3   and the matter set for change of plea on October 24, 2005 at 9:30 am.
 4   The court finds that the interests of justice in granting the
 5   continuance outweighs the public's interest in a speedy trial and
 6   therefore time is excluded in the interests of justice pursuant to 18
 7   U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
 8   IT IS SO ORDERED.
 9
10   DATED: October 14 2005                    /s/ Frank C. Damrell Jr.
                                               FRANK C. DAMRELL, JR.
11                                             United States DISTRICT JUDGE
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     Stip and Order                            3
